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                 Case 4:24-cv-00024-P   UNITED 12
                                                STATES
                                                   FiledDISTRICT
                                                        03/04/24 COURT
                                                                 Page 1 of 1 PageID 172
                                 FOR THE NORTHERN DISTRICT OF TEXAS
                              ORDER STRIKING AND UNFILING DOCUMENT(S)
The Court has independently determined that the document(s) below should be stricken and unfiled. Accordingly, it is ordered
that the document(s) is/are stricken from the record of this case, and the Clerk is directed to note on the docket that the
document(s) has/have been unfiled.

    03/04/2024
    DATE                                                         U.S. DISTRICT/MAGISTRATE JUDGE

                                                        NOTICE OF DEFICIENCY
    Judge: Mark T. Pittman                                                   Date: 03/04/2024
    Case Number: 4:24-cv-0024-P                                              Style: Dorman v. Deutsche Bank National Trust Co.

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    A(n) Motion to Intervene                                                                                            has been filed by
    Movant                                                                     and is considered deficient in the area(s) noted below:
                  1.        A civil cover sheet must be filed with the complaint. See LR 3.1(a) or LR 3.2(c).
                  2.        The document(s) must be in proper form. See LR 10.1 or LCrR 49.3.
                  3.        The signature of the attorney of record, which includes a party proceeding pro se, is required on each
                            document filed. See FED. R. Civ. P. 11(a), FED. R. Crim. P. 49(d), LR 11.1(b), or LCrR 49.5(b).
                  4.        A completed certificate of service is required. See FED. R. Civ. P. 5(d) or FED. R. Crim. P. 49(d).
                  5.        Each separate document contained therein must be identified. See LR 5.1(c) or LCrR 49.2(c).
                  6.        The motion or response must include:
                       a.      ✔           certificate of conference or inability to confer. See LR 7.1(b) or LCrR 47.1(b).
                       b.                  brief in support of motion. See LR 7.1(d), LR 56.5(a), or LCrR 47.1(d).
                       c.                  proposed order. See LR 7.1(c) or LCrR 47.1(c).
                       d.                  documentary or non-documentary evidence in a separate appendix. See LR 7.1(i) or LR 56.6.
                 7.     A motion for leave to amend must have a copy of the proposed amended pleading attached as an exhibit.
                        See LR 15.1(a) and (b). If the motion for leave to amend is filed on paper, the motion must be
                        accompanied by an original and second copy of the proposed amended pleading that is neither attached to the
                        motion nor made an exhibit to the motion. See LR 15.1(a).
                 8.     A motion for continuance of a trial setting must be signed by the party as well as by the attorney of record.
                        See LR 40.1.
                 9.     An attorney seeking pro hac vice admission must apply for admission on an approved form and pay the
                        applicable fee. See LR 83.9(b) or LCrR 57.9(b).
                 10.    Additional copies are required. See LR 5.1(b) or LCrR 49.2(b).
                 11.    The attorney filing the pleading is not admitted to practice in this district. See LR 83.7 or LCrR 57.7.
                 12.    The document requires a separately signed certificate of interested persons. See LR 3.1(c), LR 3.2(e),
                        LR 7.4, LR 81.1 (a)(3)(D), or LR 81.2.
             ✔ 13.      Other:
                            Movant's Certificate of Conference is deficient. Movant does not state that a conference was held, nor does
                            Movant explain why it was not possible to confer. See LR 7.1(b).
